
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks $10,571.89 for items furnished to respondent pursuant to a valid purchase order. The respondent admits the validity and amount of the claim and states that there were sufficient funds in respondent's budget for the appropriate fiscal year with which the claim could have been paid; however, the respondent was unable to make payment as the State Auditor *37returned the transmittal to the respondent with the explanation that the Treasury of the State of West Virginia lacked sufficient funds to process the transmittal.
The Court has received the petition and the Answer and finds the State agency had sufficient funds within its appropriated budget to pay the claim and for this reason, the claimant is entitled to an award from the respondent.
The Court has also determined that West Virginia Code Chapter 14, Article 3, Section 1 provides that, where payment upon contracts with State agencies is delayed for more than 90 days, six percent interest shall be awarded on contracts for commodities and printing entered into under Chapter 5A, Article 3, Section 1. The interest rate allowed by the statute is six percent per annum on any unpaid balance beginning on the 91st day after payment is due. The Court finds that the calculation of the 90 days begins July 1, 1987 and shall continue until the beginning of the Legislative Session in 1988, January 13, 1988.
In view of the foregoing, the Court makes an award in the amount sought, $10,571.89, with interest calculated in the amount of $184.21.
Award of $10,756.10.
